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                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF KENTUCKY
                                   LOUISVILLE DIVISION

 JERALD DAVIS,                                                                                Plaintiff,

 v.                                                              Civil Action No. 3:14-cv-777-DJH

 GLA COLLECTION CO., INC., et al.,                                                      Defendants.

                                             * * * * *

                                              ORDER

            Plaintiff Jerald Davis and Defendant EOS CCA having filed a Joint Stipulation of

 Dismissal (Docket No. 25), and the Court being otherwise sufficiently advised, it is hereby

            ORDERED that Plaintiff’s claims against Defendant EOS CCA are DISMISSED with

 prejudice. This dismissal shall not affect Plaintiff’s claims against any other defendant.
April 6, 2015




                                                                 David J. Hale, Judge
                                                              United States District Court




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